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 5 Facsimile: (818) 243-5266
 6 Attorneys for Defendant, SF MARKETS, LLC
   (Erroneously sued and served as SPROUTS FARMERS MARKET)
 7
 8                        UNITED STATES DISTRICT COURT
 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 DEANNA COWELL,                                 Case No. 2:19-cv-10975
12               Plaintiff,                       STIPULATION FOR DISMISSAL
                                                  OF COMPLAINT WITH
13         vs.                                    PREJUDICE
14                                                Assigned to Magistrate Judge Michael
   SPROUTS FARMERS MARKET,                        R. Wilner
15 DOES 1 TO 10,
                                                  Complaint (State) Filed: 11/21/2019
16               Defendants.                      Trial Date; 05/03/2021
17
18
19
20         IT IS HEREBY STIPULATED by and between Plaintiff, DEANNA
21 COWELL and Defendant, SF MARKETS, LLC, through their respective attorneys
22 of record herein that the above-entitled matter has been settled by and among the
23 parties and that upon such basis, the parties hereby stipulate that the above-
24 captioned matter be and hereby is dismissed with prejudice pursuant to Federal Rule
25 / / /
26 / / /
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                  STIPULATION FOR DISMISSAL OF COMPLAINT WITH PREJUDICE
Case 2:19-cv-10975-MRW Document 21 Filed 11/10/20 Page 2 of 3 Page ID #:75




 1 of Civil Procedure 41(a) (1).
 2
 3 Dated: October 7, 2020            BRADLEY & GMELICH LLP
 4
 5                                   By:
 6                                             Lindy F. Bradley
                                               Julie A. Bachert
 7                                         Attorneys for Defendant, SF MARKETS,
 8                                         LLC (Erroneously sued and served as
                                           SPROUTS FARMERS MARKET)
 9
10
11 Dated: November ___,
                   09 2020           KIRTLAND & PACKARD LLP
12
13                                   By:
14                                             Michael L. Kelly
                                               Connor M. Karen
15
                                           Attorneys for Plaintiff, DEANNA
16                                         COWELL
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                 STIPULATION FOR DISMISSAL OF COMPLAINT WITH PREJUDICE
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 1                               PROOF OF SERVICE
 2                 Deanna Cowell vs. Sprouts Farmers Market, et al.
                             Case No. 19STCV42205
 3
     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 4
         At the time of service, I was over 18 years of age and not a party to this
 5 action. I am employed in the County of Los Angeles, State of California. My
   business address is 700 North Brand Boulevard, 10th Floor, Glendale, CA 91203-
 6 1202.
 7       On November 10, 2020, I served true copies of the following document(s)
   described as STIPULATION FOR DISMISSAL OF COMPLAINT WITH
 8 PREJUDICE on the interested parties in this action as follows:
 9 Michael L. Kelly, Esq.
   Connor M. Karen, Esq.
10 Solomon Salehani, Esq.
   Kirtland & Packard, LLP
11 1638 S. Pacific Coast Highway
   Redondo Beach, CA 90277
12 Telephone: (310) 536-1000
   Facsimile: (310) 536-1001
13 E-Mail: mlk@KirtlandPackard.com;
   cmk@kirtlandpackard.com;
14 ss@kirtlandpackard.com
   Attorneys for Plaintiff, Deanna Cowell
15
          BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
16 the document(s) with the Clerk of the Court by using the CM/ECF system.
   Participants in the case who are registered CM/ECF users will be served by the
17 CM/ECF system. Participants in the case who are not registered CM/ECF users will
   be served by mail or by other means permitted by the court rules.
18
          I declare under penalty of perjury under the laws of the United States of
19 America that the foregoing is true and correct and that I am employed in the office
   of a member of the bar of this Court at whose direction the service was made.
20
          Executed on November 10, 2020, at Glendale, California.
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23
                                             Inessa Aristakesyan
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                 STIPULATION FOR DISMISSAL OF COMPLAINT WITH PREJUDICE
